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                        IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                                     )
 In re:                                                              )   Chapter 11
                                                                     )
 AMERIFIRST FINANCIAL, INC.,1                                        )   Case No. 23-11240 (TMH)
                                                                     )
                                                                     )   (Jointly Administered)
                                                                     )   Ref Docket Nos. 328, 349

             DEBTORS’ SECOND AMENDED2 WITNESS AND EXHIBIT LIST
               FOR HEARING ON OCTOBER 26, 2023 AT 10:00 A.M. (ET)

          The above captioned debtors and debtors in possession (the “Debtors”) hereby submit this

second amended witness and exhibit list in connection with the hearing scheduled for October 26,

2023, at 10:00 a.m. (ET), before the Honorable Thomas M. Horan, at the United States

Bankruptcy Court for the District of Delaware, located at 824 N. Market Street, 5th Floor,

Courtroom No. 4, Wilmington, Delaware 19801 (the “Hearing”), at which time some or all of the

following motions (collectively, the “Motions”) will be heard:

           Application of the Official Committee of Unsecured Creditors of AmeriFirst Financial,

             Inc., et al. to Retain and Employ Kasowitz Benson Torres LLP as Special Litigation

             Counsel Nunc Pro Tunc to September 19, 2023 [Filed: 10/4/23] (Docket No. 212);

           Debtors’ (I) Objection to Retention of Kasowitz Benson Torres LLP as Counsel to the

             Official Committee of Unsecured Creditors and (II) Motion to Disqualify Kasowitz

             from Representing Committee [Filed: 10/11/23] (Docket No. 243);




1 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
Suite 225, Unit 236, Chandler, AZ 85225.

2 Amended items appear in bold.

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         Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to

              Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting

              Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)

              Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 21];

         Debtors’ Motion for Entry of Order (I) Authorizing the Private Transfer or Sale of

              Certain Loans and Related Assets Free and Clear of Liens, Claims, Encumbrances,

              and Interests; (II) Approving the Terms of the Asset Purchase Agreement; (III)

              Approving the Assumption and Assignment of Certain Executory Contracts; and (IV)

              Granting Related Relief (Docket No. 226); and

         Debtors’ Motion for Entry of an Order (I) Approving Key Employee Retention

              Program, and (II) Granting Related Relief (Docket No. 228).

                                            WITNESSES

        The Debtors designate the following persons as witnesses in connection with the Motions:

        (1)      T. Scott Avila, the Debtors’ Chief Restructuring Officer.

        (2)      Jeffrey Dane, Independent Director.

        The Debtors also cross designate all witnesses designated by any other party in connection

with the Motions, and reserve the right to call any necessary rebuttal or impeachment witnesses.

                                             EXHIBITS

        The Debtors designate the following exhibits that may be used at the Hearing in connection

with the Motions:

 Exhibit No.       Document Description                                      Docket No.
                   December 19, 2021 Kasowitz Engagement Letter
 1.                                                                          243-Exhibit A

 2.                Kasowitz invoices                                         243- Exhibit B



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                   Email dated 9/21/23
 3.                                                                                       243- Exhibit C
                   Email dated 9/24/23
 4.                                                                                       243- Exhibit D
                   Email dated 9/26/23
 5.                                                                                       243- Exhibit E
                   Email dated 8/24/23
 6.                                                                                       243- Exhibit F
                   Email dated 9/26/23
 7.                                                                                       243- Exhibit G
                   Email dated 9/27/23
 8.                                                                                       273- Exhibit 1
                   Email dated 10/2/23
 9.                                                                                       273- Exhibit 2
                   Execution Version of Credit and Security Agreement
 10.                                                                                      338- Exhibit A
                   dated as of April 21, 20213
                   UCC Financing Statement
 11.                                                                                      338- Exhibit B
                   Subordination Agreement
 12.                                                                                      338- Exhibit C
                   FY 2022 P&L
 13.                                                                                      338- Exhibit D
                   2023 August YTD P&L
 14.                                                                                      338- Exhibit D
                   12/2/22 RCP to Flagstar Default Notice
 15.                                                                                      338- Exhibit E
                   12/27/22 Kasowitz to RCP Default Notice
 16.                                                                                      338- Exhibit F
                   1/4/23 Quinn Response Letter
 17.                                                                                      338- Exhibit G
                   1/11/23 RCP to AFI Default Notice
 18.                                                                                      338- Exhibit H
                   3/31/23 Term Sheet
 19.                                                                                      338- Exhibit I
                   Execution Version of Amended and Restated Credit and
 20.                                                                                      338- Exhibit J
                   Security Agreement dated as of May 15, 2023
                   Second Amendment to Credit Agreement dated 5/15/23
 21.                                                                                      338- Exhibit K
                   Settlement Agreement
 22.                                                                                      338- Exhibit L
                   Pledge Agreement
 23.                                                                                      338- Exhibit M



3 Exhibits 10 through 30 will be attached as exhibits to the Debtors’ Supplemental Omnibus Reply in Support of
Motion of the Debtors for Interim and Final Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying the
Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief to be filed on 10/24/23.

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                   Security Agreement
 24.                                                                        338- Exhibit N
                   UCC Filing Amendment
 25.                                                                        338- Exhibit O
                   5/15/23 Side Letter
 26.                                                                        338- Exhibit P
                   Email dated 6/23/23
 27.                                                                        338- Exhibit Q
                   8/3/23 letter RCP to AFI
 28.                                                                        338- Exhibit R
                   8/22/23 Kasowitz to RCP Second Default Notice
 29.                                                                        338- Exhibit S
                   8/24/23 RCP to AFI Second Default Notice
 30.                                                                        338- Exhibit T
                   Revised Budget
 31.                                                                        353- Exhibit A


        The Debtors also cross designate all exhibits designated by any other party in connection

with the Motions, and reserve the right to use additional exhibits for rebuttal or impeachment

purposes.

        The Debtors reserve the right to amend or supplement this witness and exhibit list prior to

the Hearing.


 Dated: October 25, 2023                      PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Laura Davis Jones
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                                              David M. Bertenthal (CA Bar No. 167624)
                                              Timothy P. Cairns (DE Bar No. 4228)
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                                              Counsel to the Debtors and Debtors in Possession



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